         Case 4:12-cr-00306-KGB Document 187 Filed 01/23/13 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                      PLAINTIFF

v.                              NO. 4:12-CR-00306-7 KGB

AMY DODD                                                                     DEFENDANT

                                           ORDER

        Before the Court is Sara F. Merritt’s motion to withdraw as counsel of record for

defendant Amy Dodd (Dkt. No. 172). For good cause shown, the motion is granted. Sara F.

Merritt is no longer assigned as counsel of record for defendant Amy Dodd.

        CJA Panel Member Robert B. Sloan is hereby appointed counsel for defendant Amy

Dodd.

        SO ORDERED this 23rd day of January, 2013.



                                                   ________________________________
                                                   KRISTINE G. BAKER
                                                   UNITED STATES DISTRICT JUDGE
